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The Honorable Timothy W. Dore

 

 

Chapter 7
UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF WASHINGTON
In Re: Case No.: 20-11870-TWD
Nicholas Clifton Barnard | Chapter 7
Debtor. | DECLARATION IN SUPPORT OF
| MOTION FOR RELIEF FROM STAY
The undersigned declares and states:
i. Tam of legal age, not a party to the above captioned action, and competent to be
a witness.
; 2s Tam employed by Santander Consumer USA Ine. (“Creditor”) asa
bs ply gl Ca] ye Le hi; ‘7° 1 am familiar with the process by which Creditor

maintains its loan records and evaluate status based upon those records. 1 personally know that
the records kept are in the course of regularly conducted business and are a matter of the

business routine. Entries in the records are made at or near the time of the event recorded by or
with information from a person with knowledge of the event recorded. My training includes

instruction on how to access business records necessary to offer testimony concerning loan

status and documentation, | offer the testimony in this declaration based on my review of the

relevant business records.

3. The Debtor purchased a 2013 Ford C-Max VIN: IFADPSCU7DL531019 (the
“Vehicle”), under the Retail Installment Contract dated July 26, 2017, attached hereto as

Exhibit “1” and incorporated by this reference.

Declaration in Support of Motion for Relief fom Stay ~ 1 Moetlarthy & Holthus, LLP
MH# WA-20-162851-CPG 108 Lat Avenue South, Ste. 300
Seattle, WA-98104

(206) 596-4856

 

 

 

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4. Creditor has a valid and perfected security interest in the Vehicle as shown on
the attached Exhibit “2”.

5. The contract provided for 72 monthly payments of $411.65 at 15.02%. The
contract is past due for January 15, 2020 and all subsequent payments. The total amount past
due under the contract is approximately $2,864.85 as of July 21, 2020.

6. It is not known what, if any, equity there is in the Vehicle since Creditor has not
had the opportunity to inspect the Vehicle and does not have information on the Vehicle’s
condition. However, as of July 21, 2020, the outstanding balance due to Creditor is $11,469.75,

The estimated value of the Vehicle is $8,250.00.

I declare on penalty of perjury under the laws of the United States of America. that the

foregoing is true and correct.

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Declaration in Support of Motion for Relief from Stay -2 McCarthy & Holthus, LLP
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